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EXHIBITS
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2 - OPERATING AND FINANCIAL REVIEW AND PROSPECTS
Results of operations for 2012 and. 2013

Net interest expense

The net interest expense for continuing operations amounted to’

€112 million in 2013, compared with €145 million in 2012. This
significant decline reflected lower borrowing costs sternming from the
refinancing transaction and the significant gross debt reduction.
including the voluntary debt prepayment for €67 million implemented
in the refinancing context.

For further information, please refer to note 9 of the Group's
consolidated financial statements. The interest expense has been
computed using the effective interest rate on the Reinstated Debt.

Other financial income (expense)

Other financial expense for continuing operations totaled
€176 million in 2013, compared with €52 million in 2012. In 2013, this
amount included €161 million of costs related to the refinancing of
July 2013. Transaction costs, including tender premium and other fees
on the new debt, amounted to €81 million. while the purchase of part
of the senior secured debt maturing in 2016 and 2017 resulted into an
IFRS gain reversal recognized as a non-cash expense for €76 million.

2.9.5 INCOME TAX

In 2013, the Group total income tax expense on continuing operations,
including both current and deferred taxes, amounted to €41 million
compared to an expense of €49 million in 2012.

The current income tax charge was notably the result of current taxes
due in France. Mexico, Brazil, the UK, Poland and Australia, as well as
withholding taxes, which were mostly credited against taxes payable in
France. In France, the current income tax reflects income taxes payable
due to the limitation of the usage of tax losses carried forward,
withholding taxes on income earned by the Group's licensing activities

and the local tax “CVAE”.

In 2013, as a consequence of all the new rules. and taking into account
updated forecasts within the French tax group and consumption of the
year, French deferred tax assets remained stable compared to the
deferred tax assets recagnized as at previous year-end. The remaining
deferred tax assets at closing date correspond to a usage by 2027, which
represents the estimated predictable taxable income period of the
Licensing activity based on future and existing licensing programs.

For more information, please refer to note 10 of the Group's
consolidated financial statements.

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2.9.6 PROFIT (LOSS) FROM

CONTINUING OPERATIONS

Profit from continuing operations was a loss of €111 million in 2013,
compared with a profit of €13 million in 2012, reflecting mainly the
cost of the refinancing transaction.

2.9.7. PROFIT (LOSS)

FROM DISCONTINUED
OPERATIONS

In 2013, Technicolor recorded a €19 million profit from discontinued
operations (compared with a loss of €35 million in 2012), reflecting
the early payment of a promissory note by Francisco Partners, related
to the sale of the Grass Valley Broadcast business in 2010.

In 2012. the loss from discontinued operations was mainly driven by
the €38.6 million fine from the European Union related to Thornson’s
former Cathode Ray Tubes (CRT) business, a business discontinued
by the Group in 2005.

2.9.8 NETINCOME (LOSS)

OF THE GROUP

Technicolor consolidated net loss was €92 million in 2013 (compared
with a loss of €22 million in 2012). The net loss attributable to non
controlling interests in 2013 is €5 million in 2013 (compared to a loss
of €2 million in 2012). Accordingly, the net loss attributable to
shareholders of Technicolor SA totaled €87 million (compared with a
loss of €20 million in 2012). Stripping out the cost of the refinancing.
net profit of the Group reached €69 million.

Net loss per non-diluted share was €0,26 in 2013, compared with a
net loss per non-diluted share of €0.07 in 2012.

2.9.9 ADJUSTED INDICATORS

In addition to its published results presented in accordance with [FRS
and with the aim of providing a more comparable view of the changes
in its operating performance, the Group presents a set of adjusted
indicators, which exclude impairment charges. restructuring charges
and other income and expenses with respect to adjusted EBIT, and
amortization charges as well as the impact of provisions for risks,
warranties and litigation with respect to adjusted EBITDA (in addition
to adjustments included in adjusted EBIT). Technicolor considers that
this information may help investors in their analysis of the Group's
factors it considers to be

performance by — excluding

non-representative of Technicolor's normal operating performance.
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m cash outflow for the acquisition of equity holdings in subsidiaries
(net of cash acquired), amounting to €8 million in 2013. compared
with €10 million in 2012. In 2013, it corresponded mainly to the
acquisition of Village Roadshow and Indoor Direct interests. In
2012, it corresponded mainly to the acquisition of assets from
Quinta and Indoor Direct interest;

mw praceeds received from sales of equity holdings, amounted to
€6 million in 2013, compared with €17 million in 2012 (net of the
cash of companies disposed of). In 2013, it corresponded to the net
sale proceeds of the investment in Novaled and in 2012 to the
disposal of Broadcast Services;

@ net variation of cash collateral and security deposits (to secure the
Group's obligations) generated a net cash inflow of €5 million
in 2013 (compared with a net cash inflow of €4 million in 2012).

Discontinued Operations

Net investing cash in discontinued operations was a cash inflow of
€27 million in 2013, compared with €5 million of cash used in 2012,
related mainly to the proceeds received from Francisco Partner following
an agreement in 2013 on a Promissory Note issued when the Grass
Valley Broadcast business was sold to Francisco Partners in 2010.

Net cash used in financing activities

Net cash used in financing activities amounted to €248 million
in 2013, compared with €73 million used in 2012.

Continuing operations
Net financing cash used in continuing activities was €248 million
in 2013, compared with €73 million used in 2012.

The net cash used in 2013 was primarily to repay borrowings for a net
amount of €122 million consisting of (@) debt repayments of
€965 million,
repayments, €67 million of prepayments and €838 million which was

primarily €57 million of normal scheduled debt

OPERATING AND. FINANCIAL REVIEW AND-PROSPECTS - 2
Liquidity and capital resources

refinanced and (ii) proceeds from the issuance of new debt in the
amount of €843 million.

In addition to the net repayments of borrowings for €122 million, net
financing cash included costs related to the refinancing transaction of
€131 million.

Discontinued operations
No financing cash was used by discontinued operations in 2013 and
2012.

2.10.3 FINANCIAL RESOURCES

Gross financial debt totaled €1,022 million (IFRS value) at the end
of 2013, compared with €1,115 million at the end of 2012. At
December 31. 2013, financial debt consisted primarily of €239 million
of term loans issued in May 2010 as part of the Group's debt
restructuring and €750 million of term loans issued in the refinancing
of July 2013. At December 31. 2012, financial debt consisted primarily
of €435 million of notes and €659 million of term loans, both issued
in May 2010. Financial debt due within one year arnounted to
€86 million at the end of 2013, compared with €96 million at the end
of 2012.

The private placements and the borrowings restructured in 2010 in
accordance with the Sauvegarde Plan were largely refinanced in
July 2013, with the impact of reducing the total amount of debt,
reducing the average interest rate and extending the maturity.

At December 31, 2013 the Group had €307 million of cash and
deposits, compared with €397 million at December 31, 2012.

For more detailed information on the restructuring and the Group's
debt, please refer to note 22 to the Group's consolidated financial
statements.

The table below summarizes Technicolor’s net financial debt at December 31, 2013

Amount at
Type of interest December 31, 2013 First Existence
rate (in million euros) maturity © of hedges
Term Loans (Non-amertizing Floatirig 184 2017 Yes
Term Loans (Amertizing tranche) Floating 805 2014 Yes
Other non-current debt Various 10 2015 No
Other current deb: Various 23 2013 No
TOTAL DEBT 1,022
Available cash and deposits Floating 307 Otol month No
Committed credit facilities ? Floating 24)
TOTAL LIQUIDITY 548

efer to note 22.3 for a maturity schedule of the Group's

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